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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 UNITED STATES,                               )      CASE NO. 4:05CR202
                                              )      (defendant #12)
                       Plaintiff,             )
                                              )      JUDGE DAVID D. DOWD, Jr.
        v.                                    )      Magistrate Judge George J. Limbert
                                              )
 DEMITRIUS MORRIS,                            )
                                              )      REPORT & RECOMMENDATION
                       Defendant.             )      OF MAGISTRATE JUDGE
                                              )

        This matter was referred to the undersigned in order to conduct appropriate proceedings,
 including a preliminary exam, a supervised release hearing, and all matters in accordance with
 Criminal Rule 32.1, except for sentencing. ECF Dkt. #265. On January 4, 2008, the undersigned
 conducted proceedings regarding the revocation of supervised release. At that hearing, the
 Government was represented by Assistant United States Attorney Linda H. Barr on behalf of
 Assistant United States Attorney Edward F. Feran, and Defendant was represented by Charles E.
 Fleming.
        On December 5, 2007, a United States Probation Officer filed a Violation Report requesting
 an emergency arrest warrant because Defendant’s whereabouts were unknown to the Probation
 Officer. On December 19, 2007, the Probation Officer filed a Superseding Violation Report
 alleging that Defendant had committed the following Supervised Release Violations:
               1.      Failure to Notify the Probation Officer 10 days prior to any
                       Change in Residence or Employment - Mr. Morris was to
                       complete a six month CCC placement as ordered by the Court. On
                       12/03/2007, the offender absconded from the CCC facility without
                       notifying the probation office of his intended whereabouts. He did
                       fail to return to the CCC.
               2.      New Law Violation - During his arrest, on 12/17/2007, on the
                       Federal arrest warrant issued by Your Honor, illegal drugs were
                       found in the offender’s possession. The offender has been charged
                       with possession of drugs-cocaine in the Youngstown Municipal Court
                       under case number 07CRA03953Y.
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                3.      Unauthorized Use of Drugs - On 11/20/2007, Mr. Morris tested
                        positive for marijuana use. The urine specimen was confirmed
                        positive by Kroll Laboratories on 12/06/2007.
                4.      Unauthorized Use of Drugs - On 11/26/2007, Mr. Morris tested
                        positive for marijuana use. The urine specimen was confirmed
                        positive by Kroll Laboratories on 12/08/2007.
                5.      Unauthorized Use of Drugs - On 11/29/2007, Mr. Morris tested
                        positive for marijuana use. The urine specimen was confirmed
                        positive by Kroll Laboratories on 12/06/2007.
 Superseding Violation Report at 1.
        At the hearing, Defendant admitted to committing Violations # 1, 3, 4, and 5 as alleged in
 the Superseding Violation Report. The Government agreed to withdraw alleged violation #2. The
 Parties agreed that Violations # 1, 3, 4, and 5 constitute Grade C violations.
        CONCLUSION AND RECOMMENDATION
        Based upon the Violation Report and Defendant’s admissions, the undersigned finds that
 Defendant has violated his supervised release conditions by failing to notify the Probation Officer
 10 days prior to a change in residence or employment (Violation #1) and by using unauthorized
 drugs, as evidenced by his urine samples collected on 11/20/2007 (Violation #3), 11/26/2007
 (Violation #4), and 11/29/2007 (Violation #5) testing positive for marijuana. Consequently, the
 undersigned recommends that the Court find that Defendant has violated the terms of his
 supervised release.

 Dated: January 4, 2008                             /s/George J. Limbert
                                                George J. Limbert
                                                United States Magistrate Judge

        ANY OBJECTIONS to this Report and Recommendation must be filed with the Clerk of
 Court within ten (10) days of service of this notice. Failure to file objections within the specified
 time WAIVES the right to appeal the Magistrate Judge’s recommendation. See Thomas v. Arn,
 474 U.S. 140 (1985); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




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